                              Case your
  Fill in this information to identify 23-16198-MAM
                                          case:                    Doc 1           Filed 08/04/23           Page 1 of 28
  United States Bankruptcy Court for the:

  Southern Dist:Iict of Florida


                                                          §
  Case number(Jtknown): __________ Chapter you are filing under:
                                                          D Chapter?
                                                               Chapter11
                                                               Chapter12
                                                                                                                                     □ Check if this is an
                                                               Chapter13                                                                 amended filing




Official Form 201
Vo I u nta r y Pet it ion for N on-1 ndiv id ua Is Fi I i n g for Ba n k r up t c y                                                                06122

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1. Debtor's name                        PVP Krewstown, LLC


2. All other names debtor used              RA2 Philadelphia-Krewstown Limited Partnership
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



3. Debtor's federal Employer                 XX-XXXXXXX
   Identification Number (EIN)



4. Debtor's address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                     of business
                                            Clo Allerand Capital, LLC
                                        Number        Street                                         Number      Street

                                            675 W. Indiantown Road
                                                                                                     P.O. Box
                                            Jupiter                        FL      33458
                                        City                               State     ZIP Code        City                        State        ZIP Code

                                                                                                     Location of principal assets, if different from
                                                                                                     principal place of business
                                            Palm Beach County
                                        County
                                                                                                     Number      Street




                                                                                                     City                        State        ZIP Code




s. Debtor's website (URL)


s. Type of debtor                       IZl Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        D Partnership (excluding LLP)
                                        □ Other. Specify: ___________________________

Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 1
                              Case 23-16198-MAM                 Doc 1     Filed 08/04/23            Page 2 of 28

              PVP Krewstown, LLC
Debtor                                                                                  Case number <lkrowrt)______________
             Name


                                     A. Check one:
7. Describe debtor's business
                                     D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     0 Single Asset Real Estate (as defined in 11 U.SC.§ 101(51B))
                                     □ Railroad (as defined in 11 U.S.C § 101(44))
                                     D Stockbroker (as defined in 11 U.S.C.§ 101(53A))
                                     0 Commodity Broker (as defined in 11 U.S.C.§ 101(6))
                                     Dc1earing Bank (as defined in 11 U.S.C.§ 781(3))
                                     IZ1 None of the above
                                     B. Check all that apply:
                                     0 Tax-exempt entity (as described in 26 U.S.C.§ 501)
                                     D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                     D Investment advisor (as defined in 15 U.S.C.§ 80b-2(a)(11))
                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                        See http://www.naics.com/search/ .


s. Under which chapter of the        Check one:
   Bankruptcy Code is the            D Chapter?
   debtor filing?
                                     D Chapter 9
                                     [2) Chapter 11. Check all that apply.
                                                     D The debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and its
                                                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                         are less than $3,024,725. If this sub-box is selected, attach the most
   A debtor who is a "small business                     recent balance sheet, statement of operations, cash-flow statement, and federal income
   debtor" must check the first sub­                     tax return or if any of these documents do not exist, follow the procedure in
                                                         11 U.SC.§ 1116(1)(8).
   box. A debtor as defined in
   § 1182(1 ) who elects to proceed                  □ The debtor is a debtor as defined in 11 U.S.C.§ 1182(1), its aggregate
   under subchapter V of chapter 11                      noncontingent liquidated debts {excluding debts owed to insiders or affiliates) are
                                                         less than $7,500,000, and it chooses to proceed under Subchapter V of
   (whether or not the debtor is a
                                                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
   "small business debtor") must                         of operations, cash-flow statement, and federal income tax return, or if
   check the second sub-box.                             any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                         § 1116(1)(B).

                                                     D A plan is being filed with this petition.
                                                     D Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                         in accordance with 11 U.S.C.§ 1126(b).

                                                     D The debtor is required to file periodic reports {for example, 10K and 10Q) with the
                                                          Securities and Exchange Commission according to§ 13 or 15(d) of the Securities
                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                     D The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                          12b-2.
                                     Cl Chapter 12
9. Were prior bankruptcy cases       0 No
   filed by or against the debtor
   within the last 8 years?          l:J Yes. District _________ When ______ Case number _________
                                                                                        MM/ DD/YYYY
   If more than 2 cases, attach a
   separate list.                              District _________ When ______ Case number _________
                                                                       MM/ DD/YYYY
10. Are any bankruptcy cases
    pending or being filed by a
                                     □ No
                                     0Yes. Debtor       AUBSP Owne rc o 8 and 9 LLC                    Relationship Affi li ate
    business partner or an
    affiliate of the debtor?                   District _S o u th e r n D i s tr i c t o f F lo r id a              11/04/2022
                                                          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _____ When          MM / DD /YYYY
   List all cases. If more than 1,
   attach a separate list.                     Case number. if known 22-18613-MAM

 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
                             Case 23-16198-MAM                 Doc 1     Filed 08/04/23            Page 3 of 28

               PVP Krewstown, LLC
Debtor                                                                                  Case ni.nbef(l-n1-__________
                                                                                                       •             ___
               Name




11. Why is the case filed in this   Check al that lff)/y:
   districr?
                                    0 Debtor has had its domicile, princpal place of business, or prilcipal assets in this district for 180 days
                                      immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                      district.

                                    0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have     lZJNo
   possession of any real
   property or personal property
                                    D  Yes Answer below for each property that needs immediate attention. Attach addtional sheets if needed.

   that needs im mediate                    Why does the property need immediate attertion? (Check alt that ap(Ay.)
   attention?
                                            0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                 What is the hazard? ________________________

                                            0 It needs to be physically secured or protected from the weather .

                                            0 It includes p erishable goods or assets that could quickly deter iorate or lose value without
                                              attention (for exalll)le, livestock, seasonal goods, meat, dairy, produce, or secur itieS-felated
                                              assets or other options).

                                            0 Other ___________________________



                                            Where is the property?
                                                                       Ni.nber        Steet




                                                                       City                                            State      ZIP Code


                                             Is the property insured?

                                            □ No
                                             0 Yes. Insurance agency ________________________

                                                     contact name

                                                      Pllooe



          Statistical and a dministrative information



13. Debtor's estimation of          Check one:
   available funds                  0 Funds will be available for distribution to unsecured credtors.
                                    0 Alter any administrative expenses are paid, no funds will be available for dstribution to unsecured creditors.


                                    0 1-49                          0 1,000-5,000                             0 25,001-50,000
14. Estimated number of                                             0 5,001-10,000                            0 50,001-100,000
                                    0 50-99
    creditors
                                    0 100-199                       0 10,001-25,000                           0 More than 100,000
                                    0 200-999

                                      $0..$50,000                       $1,000,001..$10 million               0 $500,000,001..$1 billion
1s. Estimated assets                0 $50,001-$100,000              !&I $10,000,001-$50 million               0 $1,000,000,001..$10 billion
                                    0 $100,001..$500,000            0 $50,000,001..$100 million               0 $10,000,000,001 $50 billion
                                    0 $500,001-$1 million           0 $100,000,001-$500 minion                0 More than $50 billion




 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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IC: Estimated llablllles
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·n: Declaration and .ignat�•• or          � dobt(lf f!lQueSIS 1el1el II B<Jllfilanm.Wllh 1/te ·JmilOJCf oftillo 11. umroo Stliies Gode, spe,:llicd in this
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u. Signature ot attorney
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                                           Underwood Murray, PA ..
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                                            401 E. Las Olas Blvd., Suite 1400
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                                     Case 23-16198-MAM              Doc 1      Filed 08/04/23             Page 5 of 28

      Fill in this information to identify the case:

                    PVP Krewstown, LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     Allerand Realty Holdings, LLC
1    675 W. Indiantown Road                                                                     Unliquidated
     Suite 103
                                                                                                                                                   372,318.29
     Jupiter, FL, 33458


     RA Philadelphia Krewstown Remainderco,                                                     Disputed
2    LLC its successors and assignes                                                            Unliquidated
     c/o Cogency Global                                                                         Contingent
                                                                                                                                                   100,000.00
     850 New Burton Rd., Ste. 201
     Dover, DE, 19904
     Hill Wallack                                                                               Disputed
3    1000 Floral Vale Blvd                                                                      Unliquidated
     Suite 300                                                                                  Contingent                                         40,361.56
     Morrisville, PA, 19067


     Varnum LLP c/o Bradley Defoe                                                               Disputed
4    480 Pierce Street                                                                          Unliquidated
     Suite 300                                                                                  Contingent                                         6,762.00
     Birmingham, MI, 48009


     Croessmann & Westberg, P.C., c/o Glenn                                                     Disputed
5    W.D. Golding                                                                               Unliquidated
     8000 Towers Crescent Drive                                                                 Contingent                                         337.50
     Suite 1575
     Vienna, VA, 22182
     Law Office of Michael D. Moccia, PA                                                        Disputed
6    1200 N. Federal Highway                                                                    Unliquidated
     Suite 200                                                                                  Contingent                                         0.00
     Boca Raton, FL, 33432-2813


     Cross and Simon LLC                                                                        Disputed
7    1105 N. Market St                                                                          Unliquidated
     Wilmington, DE, 19801-1216                                                                 Contingent                                         0.00


     Stoel Rives LLP c/o Crystal Chase                                                          Disputed
8    760 SW North Ave.                                                                          Unliquidated
     Suite 3000                                                                                 Contingent                                         0.00
     Portland, OR, 97205




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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                  PVP Krewstown, LLC
    Debtor       _______________________________________________________                   Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                       professional        unliquidated, total claim amount and deduction for value of
                                                                       services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                            Total claim, if   Deduction for      Unsecured
                                                                                                            partially         value of           claim
                                                                                                            secured           collateral or
                                                                                                                              setoff


9




10




11




12




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14




15




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    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
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98 PHILADELPHIA-CASTOR REMAINDERCO, LLC
c/o Cogency 850 New Burton Rd
Suite 201
Dover, DE 19904


98 RA PHILADELPHIA -KREWSTOWN REMAINDERCO, LL
c/o Cogency Global 850 New Burton Rd
Suite 201
Dover, DE 19904


98 RA Philadelphia-Krewstown Remainderco LLC
850 New Burton Road
Suite 201
Dover, DE 19904


98 RA2 Philadelphia-Castor LLC c/o Allerand C
675 West Indiantown Road
Suite 103
Jupiter, FL 33458


98 RA2 Philadelphia-Castor LLC c/o UBS Warbur
1285 Avenue of the Americas
11th Floor
New York, NY 10019


98 RA2 Philadelphia-Krewstown Limited PArtner
675 W. Indiantown Road
Suite 103
Jupiter, FL 33458


98 RA2 Philadelphia-Krewstown Limited Partner
1285 Avenue of the Americas
11th Floor
New York, NY 10019


Allerand Capital, LLC
675 W. Indiantown Road
Suite 103
Jupiter, FL 33458


Allerand Realty Holdings, LLC
675 W. Indiantown Road
Suite 103
Jupiter, FL 33458


Allerand UBSP Holdingco, LLC
675 W. Indiantown Road
Suite 103
Jupiter, FL 33458


Allerand UBSP Holdingco, LLC
675 W Indiantown Road
Jupiter
FL 33458
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Amherst RA-357 LLC c/o Financial Structures L
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Aston RA-357 LLC c/o Financial Structures Lim
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Aston RA-357 LLC c/o Parkowski Guerke & Swayz
1105 North Market Street
19th Floor
Wilmington, DE 19801


AUBSP Ownerco 11, LLC c/o Cross & Simon, LLC
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 12, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 13, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 14, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 15, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 2, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 3, LLC c/o Cross & Simon, LLC
1105 N. Market Street (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 4, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899
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AUBSP Ownerco 5, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 6, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 7, LLC c/o Cross & Simon, LLC
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 8, LLC c/o Cross & Simon, LLC
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSP Ownerco 9, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


AUBSPO Ownerco 1, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


Baltimore County Tax Collector
400 Washington Avenue
Room 150
Towson, MD 21204


Baltimore RA-357 LLC c/o Financial Structures
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Battle Creek RA-357 LLC c/o Financial Structu
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Berea RA-379 LLC c/o Financial Structures Lim
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Berkadia Commercial Mortgage c/o Potter Ander
1313 Market St.
PO Box 951
Wilmington, DE 19899-0951
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Bishop RA-357 LLC c/o Financial Structures Li
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Blythe RA-320 LLC c/o Financial Structures Li
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Brandon John Wilson
39400 Woodward Ave
Suite 101
Bloomfield Hills, MI 48304


Broadview Heights RA-357 LLC c/o Financial St
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Brookpark RA-357 LLC c/o Financial Structures
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Bureau of Revenue Collections
200 Holiday Street
Baltimore, MD 21202


Calhoun County Treasurer Office
215 W. Green Street
Marshall, MI 49068


Carson R. Bartlett c/o Potter Anderson Corroo
1313 Market St.
PO Box 951
Wilmington, DE 19899-0951


Castor Philadelphia RA-357 LLC c/o Financial
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Chad Stover
1000 North West Street
Suite 1500
Wilmington, DE 19801-10000


Christina B. Vavala
Polsinelli PC, 222 Delaware Avenue
Suite 1101
Wilmington, DE 19801
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Claremont RA-320 LLC c/o Financial Structures
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Comptroller of Maryland c/o Compliance Divisi
301 W Preston
Room 409
Baltimore, MD 21201-2383


Croessmann & Westberg, P.C., c/o Glenn W.D. G
8000 Towers Crescent Drive
Suite 1575
Vienna, VA 22182


Cross and Simon LLC
1105 N. Market St
Wilmington, DE 19801-1216


Cross and Simon LLC
1105 N. Market
Wilmington, DE 19801-1216


Daniel P. Daniluk
1129 Niles-Cortland Road SE
Warren, OH 11181


Daniel P. Daniluk
1129 Niles-Cortland Road SE
Warren, OH 44484


David F. Fontana
One South Street
Suite 2200
Baltimore, MD 21202


FI 135 Baltimore LLC   c/o Michael D. Nord
One South Street
Suite 2200
Baltimore, MD 21202


FI 135 Baltimore LLC c/o Larry N Woodard
155 N. Wacker Dr.
Suite 3100
Chicago, IL 60606-1734


FI 135 Battle Creek LLC
2701 N. Charles Street
Suite 404
Baltimore, MD 21218
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FI 135 Battle Creek LLC c/o Bloomfield Capita
700 Forest Ave
Birmingham, MI 48009


FI 135 Battle Creek LLC c/o Brandon John Wils
39400 Woodward Ave
Suite 101
Bloomfield Hills, MI 48304


FI 135 Battle Creek LLC c/o Larry Woodard
155 N. Wacker Dr.
Suite 3100
Chicago, IL 60606-1734


FI 135 Castor Philadelphia
2701 N. Charles Street
Suite 404
Baltimore, MD 21218


FI 135 Castor Philadelphia LLC c/o Bloomfield
700 Forest Ave
Birmingham, MI 48009


FI 135 Castor Philadelphia LLC c/o Larry N. W
155 N. Wacker Dr.
Suite 3100
Chicago, IL 60606-1734


FI 135 Hines c/o Dustin Martinsen
P.O. Box 430
292 Main Street South
Vale, OR 97918


FI 135 Hines LLC
2701 N. Charles Street
Suite 404
Baltimore, MD 21218


FI 135 Hines LLC c/o Bloomfield Capital Asset
700 Forest Ave
Birmingham, MI 48009


FI 135 Krewstown Philadelphia LLC
2701 N. Charles Street
Suite 404
Baltimore, MD 21218


FI 135 Krewstown Philadelphia LLC c/o Bloomfi
700 Forest Ave
Birmingham, MI 48009
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FI 135 Krewstown Philadelphia LLC c/o Larry N
155 N. Wacker Dr.
Suite 3100
Chicago, IL 60606-1734


FI 135 Troy LLC
2701 N. Charles Street
Baltimore, MD 21218


FI 135 Troy LLC c/o Bloomfield Capital Asset
700 Forest Ave
Birmingham, MI 48009


FI 135 Troy LLC c/o Larry N. Woodward
155 N. Wacker Dr.
Suite 3100
Chicago, IL 60606-1734


FI 135 Waynesboro LLC c/o Larry N. Woodard
155 N. Wacker Dr.
Suite 3100
Chicago, IL 60606-1734


Financial Structures Limited
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Financial Structures Limited
Chevron House, 11 Church Street
Hamilton HM 11
Bermuda,


First American Title of Oregon as Trustee
1700 SW Fourth Avenue
Suite 103
Portland, OR 97201


Flint RA-357 LLC c/o Financial Structures Lim
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Flora Petitit PC c/o Nancy R. Schlichting
530 E Main Street
P.O. Box 2057
Charlottesville, VA 22902


Florida Dept of Revenue Attn: Bankruptcy Uni
P.O. Box 6668
Tallahassee, FL 32314-6668
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Fredericksburg RA-100 LLC c/o Financial Struc
3600 Arco Corporate Drive
Suite 150
Charlotte, NC 28273-8100


Fredericksburg RA-100 LLC c/o Parkowski Guerk
1105 North Market Street
19th Floor
Wilmington, DE 19801


GCC-RA Bardstown, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


GCC-RA Berea, LLC c/o Cross & Simon, LLC,
1105 N. Market St. (PO Box 1380)
Suite 901
Wilmington, DE 19899


GCC-RA Cane Run, LLC c/o Cross & Simon, LLC
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